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               IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

 KEVIN FUSCO,                                 )
                                              )
             Petitioner,                      )
                                              )
       v.                                     )       CIVIL ACTION NO.
                                              )       2:18-CV-839-MHT
 UNITED STATES OF AMERICA                     )
                                              )
             Respondent.                      )

                               ORDER ON MOTION

       Petitioner’s Motion for Hearing (Doc. # 13) is DENIED.

       DONE this 9th day of November, 2018.



                                        /s/ Charles S. Coody
                                 CHARLES S. COODY
                                 UNITED STATES MAGISTRATE JUDGE
